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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

 UNITED STATES OF AMERICA,
                                                       CASE NO. 6:18-cr-70-Orl-41TBS
         Plaintiff,

 v.

 MARC MALACASO,

       Defendant.
 __________________________________/


      LIMITED NOTICE OF APPEARANCE FOR INITIAL APPEARANCE ONLY

         COMES NOW Vincent A. Citro, Law Offices of Horwitz & Citro, P.A. and

 hereby gives his limited notice of his appearance as counsel for the Initial Appearance in

 the Middle District of Florida in this case on behalf of Marc Malacaso. The undersigned

 will likely be able to enter an unlimited notice of appearance no later than April 6, 2018.

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 29, 2018, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system, which will send a notice of

 electronic filing to Vincent S. Chiu, Assistant United States Attorney, Office of the

 United States Attorney, 400 W. Washington Street, Suite 3100, Orlando,
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 Florida 32801 at vincent.chiu@usdoj.gov.


                                    Respectfully submitted,

                                    Law Offices of Horwitz & Citro, P.A.

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